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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


ALISON FRIGON                                     :
           Plaintiff,                             :
                                                  :
               v.                                 :           C.A. NO.:
                                                  :
THUNDERMIST HEALTH CENTER;                        :
MEGAN MCKAIN, C.N.M., ALIAS;                      :
And JOHN DOE, ALIAS                               :
           Defendants.                            :



                                    NOTICE OF REMOVAL


     TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND:

       1.      On or about May 16, 2016, Alison Frigon (“Plaintiff”), through counsel, filed a

Complaint in the Superior Court of the State of Rhode Island and Providence Plantations against

Defendants Thundermist Health Center, Megan McKain, C.N.M, and John Doe, Case No. PC16-

2216. The Complaint alleges four counts of negligence against the Defendants.

       2.      The attached documents are copies of the Complaint and Summons served on

Thundermist Health Center on June 22, 2016. Certified or attested copies of all records and

proceedings in the State of Rhode Island Superior Court, and a certified or attested copy of all

docket entries therein, including the filing of a copy of this Notice of Removal, will be listed

with this Court within ten days as required by the United States District Court for the District of

Rhode Island Local Rule 81(b).
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       3.      Pursuant to 28 U.S.C. § 2679(b)(1), the exclusive remedy for personal

injuries arising out of or resulting from alleged negligent or wrongful acts of an employee of the

United States while acting within the scope of his employment is an action against the United

States in federal court pursuant to 28 U.S.C. § 1346(b).

       4.      Further, 28 U.S.C. § 2679(d)(2) provides: “[u]pon certification by the

Attorney General that the defendant employee was acting within the scope of his . . .

employment at the time of the incident out of which the claim arose, any civil action or

proceeding commenced upon such claim in a State court shall be removed without bond at any

time before trial by the Attorney General to the district court of the United States for the district

and division embracing the place in which the action or proceeding is pending. Such action or

proceeding shall be deemed to be an action or proceeding brought against the United States . . .

and the United States shall be substituted as the party defendant. This certification of the

Attorney General shall conclusively establish scope of office or employment for purposes of

removal.”

       5.      Defendant Megan McKain is an employee of the United States Department of

Health and Human Services, a federal agency, and was during the time period alleged in the

Complaint.

       6.      Plaintiff alleges that on or about May 16, 2013, Defendants failed to properly

provide her with medical care.

       7.      The attached certification of Peter F. Neronha, United States Attorney for the

District of Rhode Island, the Attorney General’s designee, states that he has read the Complaint

in this action and that on the basis of the information now available to him, finds and certifies

that Defendant Megan McKain, C.N.M., was acting within the scope of her employment as an
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employee of the United States at the time of the incident out of which the Plaintiff’s claims

arose. Accordingly, this action is properly removed pursuant to 28 U.S.C. § 2679(d)(2).

       8.      Notice of removal has been provided this date to Plaintiff and the Clerk of the

Providence, Rhode Island Superior Court.

       9.      No defenses, including immunity are waived by the filing of this Notice of

Removal.

       Wherefore, notice is respectfully given that the captioned matter is removed to the United

States District Court for the District of Rhode Island.


                                              Respectfully submitted,

                                              PETER F. NERONHA
                                              United States Attorney


                                              /s/ Amy R. Romero
                                              AMY R. ROMERO
                                              Assistant U.S. Attorney
                                              U.S. Attorney’s Office
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                                              Email: amy.romero@usdoj.gov



Dated: October 26, 2016
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 26th day of October, 2016, I electronically filed the within
Notice of Removal with the Clerk of the United States District Court for the District of Rhode
Island using the CM/ECF System. A copy of the within document has been forwarded by regular
mail, to:

Richard A. Pacia, Esquire
454 Broadway
Providence, Rhode Island 02909




                                            /s/ Amy R. Romero
                                            AMY R. ROMERO
                                            Assistant U.S. Attorney
